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 6   Attorney for Defendant
     JEFFREY WASSON
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 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                          Case No.: 2:22-CR-00220 KJN
12
                                   Plaintiff,           NOTICE AND MOTION TO
13
            v.                                          TERMINATE PROBATION
14
     JEFFREY ALAN WASSON,
15
                                   Defendant.
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19                                     NOTICE AND MOTION
20          Pursuant to the signed plea agreement between the parties (dkt. 23), the Court’s
21   Judgement and Commitment order entered April 3, 2023 (dkt. 24), and the attached proof of
22   payment of all legal financial obligations (Exhibit A, Proof of Payment), the defendant Jeffrey
23   Wasson, through his undersigned counsel, moves the Court for an order terminating his term of
24   probation.
25          On March 29, 2023, Wasson was sentenced in accordance with a plea agreement between
26   the parties requiring, in relevant part, full payment of restitution in the amount of $35,486.43
27   and a 5-year term of probation. Plea Agreement at 5. The parties further agreed that after the
28   Clerk of Court receives full payment of restitution and all other legal financial obligations,



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     Defendant’s Motion to Terminate Probation
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 1   “defendant’s period of probation shall terminate.” Plea Agreement at 5; Judgement and
 2   Commitment at 2.
 3          In this case, on March 29, 2023, right after being sentenced, Mr. Wasson headed straight
 4   to the Clerk’s office and paid, in full, his restitution ($35,486.43), special assessment ($25), and
 5   fine ($500). Exhibit A, Proof of Payment.
 6          Having completed his legal financial obligations, Wasson now seeks to terminate his
 7   term of probation.
 8
     Dated: April 4, 2023                                  Respectfully submitted,
 9
10                                                         /s/ Etan Zaitsu________
                                                           ETAN ZAITSU
11                                                         Attorney for Defendant
                                                           JEFFREY WASSON
12
13
14                                                ORDER
15          With proof of payment reflecting full payment of restitution, fees and fines, the Court is
16   satisfied that Defendant, Jeffrey Alan Wasson has met his legal financial obligations under the
17   plea agreement. As such, the Defendant’s 5-year term of probation is hereby ordered
18   terminated.
19          IT IS SO ORDERED.
20
21   Dated: April 4, 2023
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     Defendant’s Motion to Terminate Probation
